          Case 4:04-cr-00169-BRW Document 756 Filed 08/01/07 Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                    WESTERN DIVISION


UNITED STATES OF AMERICA                                                       Judge : Bill Wilson
counsel: Pat Harris                                                           Reporter: P. Merkel
counsel:                                                                       Clerk: M. Johnson
                                                                                      Interpreter:
         vs                                                                     USPO: T. Guerra

BOBBY ALTWON HART
counsel: Michael Booker
counsel:                                                                      Date: August 1, 2007

                                                               CASE NO: 4:04CR00169-05-WRW


                           COURT PROCEEDING: Hearing on Motion

Begin: 2:43 p.m.                                                                    End: 3:00 p.m.

Court calls case and reviews to present; Gov’t makes statement to Court; Deft counsel and deft make
statements to Court; Order to be entered.

Court in recess.




CourthearingMinutes.wpd
